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AO 91 (Rev. 11/11) Criminal Compisint

UNITED STATES. DISTRICT COURTP LED

February 3, 2021

     

 

 

 

Northern District of Texas
KAREN MITCHELL
United States of America CLERK, U.S. DISTRICT
Vv.
. COURT
Christian Michael Mackey Case No. 3:21-MJ-105-BK

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Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 29, 2021 in the county of Dallas in the
Northem District of Texas , the defendant(s) violated:
Code Section Offense Description

18 U.S.C. 922(d) Unlawful Sale or Disposition of a Firearm or Ammunition

This criminal complaint is based on these facts:
See Attached Affidavit of SA John Moore.

CO Continued on the attached sheet.
A L ) «a b__.
t £ Complainant's signature

Special Agent John Moore, FBI
Printed name and title

 

Agent sworn and signature confirmed via reliable electronic means, Fed. B. Crim. P.

   

Date: February 3, 2021

 

Judge's signature
RENEE HARRIS TOLIVER, U.S. Magistrate Judge
~ Printed name and title

City and state: _ Dallas, Texas
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AFFIDAVIT IN SUPPORT OF
APPLICATIONS FOR AN ARREST WARRANT

I, John “Jack” Moore, being first duly sworn, hereby depose and state as follows:
OD N AND BAC Oo

L. I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and
have been since 2016. I am currently assigned to a squad in Dallas, Texas, that is
responsible for investigating Domestic Terrorism cases. I am responsible for conducting
investigations into various threats, including racially motivated violent extremism,
weapons of mass destruction violations, and violent anti-government extremists. I have
received training in such areas as counter terrorism, domestic terrorism, financial
analysis, financial investigative methods and applications, techniques for disguising and
transmitting the proceeds of illegal activities, and asset forfeiture. I have also received
training regarding computers and digital evidence. I have participated in investigations
into domestic terrorism, wire fraud, securities fraud, public corruption, drug trafficking,
healthcare fraud, and crimes against children. These investigations have often involved
the use of physical surveillance, cooperating witnesses, financial and telephone toll
record analysis, the execution of search and arrest warrants, and the debriefing of
witnesses and subjects. I also have experience in the review of evidence obtained during
the execution of search warrants.

2. The facts in this affidavit come from my personal observations, my training

and experience, and information obtained from other agents and witnesses. This affidavit

 
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is intended to show merely that there is sufficient probable cause for the requested
warrants and does not set forth all of my knowledge about this matter.

3. Based on my training and experience and the facts as set forth in this
affidavit, there is probable cause to believe that violations of 18 U.S.C. 922(d) have been
committed by Christian Michael Mackey, namely that, on or about January 29, 2021,
Christian Michael Mackey did knowingly sell or otherwise dispose of any firearm or any
person knowing or having reasonable cause to believe that such person had been
convicted in any court of a crime punishable by imprisonment for a term exceeding one

year.
PROBABLE CAUSE

4. Since in or around July 2019, the FBI has been investigating the White
Racially Motivated Violent Extremist (WRMVE) group Iron Youth. Iron Youth is a self-
proclaimed National Socialist and White Nationalist group. Iron Youth has made claims
that it is dedicated to militancy, political terror, and “Siege” ideology. “Siege” ideology
refers to the 1992 book Siege written by American Neo-Nazi James Mason, in which
Mason provides chapters of instruction on instigating anti-government terrorist attacks in
order to start a race war.

5. In addition to an investigation led by the Dallas Field Office, other FBI
offices have investigations into particular targets associated with Iron Youth, including
the FBI field office in San Antonio. FBI San Antonio issued search warrants for the

Instagram accounts for certain Iron Youth Members in April 2020. Those accounts

 
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communicated regularly with the Instagram account @oberthesober, which is controlled
by Christian Mackey. The @oberthesober account made 2,417 Instagram posts in an Iron
Youth Chat from June 27, 2019 through September 11, 2019.

6. Based on his Instagram posts, Mackey incites others in the Iron Youth
group to violence and an attack on the “system.” In a July 2019 Instagram group chat in
which Mackey participated, an Instagram user expressed a desire to train for a
“devastating attack on the beast system and die as an infamous historical figure.” To this,
@oberthesober responded, “Yea I'm just trying to live long enough to die attacking the
sustem...System*.” @oberthesober went on to post, ““We are becoming a threat to the
system and they know it. If we keep pushing for shooting and training, as well as off the
grid activities, we can recruit enough people to cause a collapse.”

7. @oberthesober’s posts often discuss the need and desire for killing others,
as in August 2019, when he explained to the Instagram chat group that he had been
looking at Nazi websites since 2016. @oberthesober posted, “I met stormfront and some
guys got me on Kik. I found stormfront because as a communist I went trolling on “Nazi
sites” and groups. But stormfront ended up redpilling me. That was 2016. Ever since then
I have become more radical through friends and through reading Rockwell and Siege.
Now I am here, as a radical jew slayer.” @oberthesober further posted “Basically, I grew
up antigovernment, my father is anti-government and pro-states, but I took a liking to
communism because I like control and killing. It just seemed so reasonable to me.” My

understanding of the term “redpilling” is that it is used in these circles to mean that one’s

 
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“eyes are opened” to the reality of whatever the organization believes. On the same day
in August 2019, Mackey posted, “Kill niggers,” to this Instagram group chat.

7. In September 2019, an Instagram user asked in Instagram group what to do
about a member of his high school whose ethnicity was 40% Ashkenazi Jew. To this
question, @oberthesober replied “Kill hin...him.” In another group chat in September
2019 about the Catholic Church, @oberthesober stated, “B is true but the leaders of
Catholicism are jews,” and, “So to kill sin... Kill the sinners.”

8. Given the rhetoric discussed above, an undercover agent was introduced to
the group and communicated with Mackey and others electronically and in person. At
one such meeting, on December 9, 2020, Mackey stated, “I’m willing to do whatever it
takes...if you drop me off back at my house and the feds are there waiting. ..I’m ready to
do whatever I need to do...either to aide or defend whatever is in this movement or
myself...so I’m willing to do whatever even if its totally illegal.” The conversation was
recorded on an FBI recording device.

9. Also at the December 9, 2020 meeting with the undercover agent, Mackey
expressed an interest in selling his rifle in order to purchase another firearm. Mackey
stated that he had shot his rifle at Shoot Smart, and that it did not chamber a second round .
after the first round was fired. Mackey stated that another Iron Youth member had
suggested he buy a “ghost gun,” and that he had been told that “ghost guns” were
untraceable. The undercover agent informed Mackey that another Iron Youth member

could sell Mackey a “ghost gun.” Mackey was receptive to the UCE asking this other

 

 
 

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member about selling Mackey a “ghost gun.” The conversation was recorded on an FBI
recording device.

10. On January 26, 2021, the FBI Undercover Agent discussed with Mackey
the purchase of a new gun and the sale of Mackey’s rifle. The Undercover Agent
informed Mackey that he had someone that would buy the gun, and that person would
send a woman to meet Mackey to purchase the gun. Mackey informed the Undercover
Agent that he no longer wanted to purchase a “ghost” pistol, but that he wanted a rifle.
Mackey stated he wanted a reliable gun that, “Can stop a hoard of you know what.” The
Undercover Agent informed Mackey that the woman buying the gun would be a felon. :
To this Mackey replied, “Ok....Listen, as long as the ship sails smoothly, and the deal is
done, I could care less who does what, ya know? I don’t care if they’re a felon as long as
they’re cool with it. And as long as they’re not gonna pick me up when I go to do
whatever. I don’t care who comes.” The Undercover Agent later elaborated, “It’s not
completely above board.” To this Mackey replied, “Oh yeah, I get that. That’s fine.”
The conversation was recorded on an FBI recording device.

11. On January 29, 2021, Mackey sold his Anderson Manufacturing AM-15
rifle to a paid FBI Source who has multiple felony convictions, including a May 24, 2001
Aggravated Assault With a Deadly Weapon conviction and an August 8, 2008 Escape
While Arrested/Confined conviction. The FBI Undercover Agent instructed Mackey to |
meet the gun buyer at a gas station located at 301 West Marshall Drive, #4300, Grand
Prairie, Texas 75051. Mackey approached the FBI Source’s vehicle on foot at

approximately 4:29 p.m., and got in the vehicle. The FBI Source drove to an adjacent
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parking lot, and bought Mackey’s rifle for $800. During the exchange, Mackey asked the
FBI Source if she was “based,” a term widely used in white-supremacist circles to mean
having white-supremacist ideology. Mackey went on to tell the FBI Source that he heard
she was a felon, and that he didn’t care if “Santa Claus or the Devil comes.” The sale of
the firearm was recorded on an FBI recording device.

12. Immediately following the gun sale, SA John Moore took possession of the
firearm evidence from the FBI Source. SA Moore recorded the firearm as an Anderson
Manufacturing AN-15 rifle, with a serial number of 17141419.

13. In light of the foregoing, I respectfully submit that there is probable cause
to believe that, on or about January 29, 2021, Christian Michael Mackey did knowingly
sell or otherwise dispose of any firearm or any person knowing or having reasonable
cause to believe that such person had been convicted in any court of a crime punishable

by imprisonment for a term exceeding one year.

Ais.
Johrf Moore
Special Agent, FBI

Agent sworm and signature confirmed by reliable electronic means pursuant to Fed. R.
Crim. P. 4.1 on this 3rd_day of February, 2021.

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NEE HARRIS TOLIVER
REE HARE States Magistrate Judge

 

 
